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 1                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 2                                    AT TACOMA

 3
     STATE OF WASHINGTON,                                 CASE NO. C17-5690 BHS
 4                            Plaintiff,                  ORDER GRANTING UNOPPOSED
            v.                                            MOTION TO SEAL AND
 5
                                                          RENEWING REQUEST FOR
     FRANCISCAN HEALTH SYSTEM                             ADDITIONAL BRIEFING ON
 6   d/b/a CHI FRANCHISCAN HEALTH;                        UNOPPOSED MOTION TO SEAL
     FRANCISCAN MEDICAL GROUP;
 7   THE DOCTORS CLINIC, a professional
     corporation; and WESTSOUND
 8   ORTHPAEDICS, P.S.,
 9                            Defendants.

10

11          This matter comes before the Court on review of the file.

12          On January 11, 2019, Plaintiff the State of Washington filed an unopposed motion

13   to seal the unredacted version of its opposition to Defendants’ motion for partial

14   summary judgment and the supporting Declaration of Travis Kennedy and accompanying

15   unredacted versions of Exhibits 3, 6–7, 12, 17–18, 20–21, 24–25, 27, 30–32, 45–49, 53,

16   61, 65, 71–73, and 77–78. Dkt. 208

17          On February 27, 2019, the State filed an unopposed motion to seal its proposed

18   findings of fact and conclusions of law in its entirety until the parties reached agreement

19   on a redacted version for public filing. Dkt. 254.

20          On March 12, 2019 the Court issued an order finding that neither motion met the

21   requirement under the local rules to include a specific statement of the applicable legal

22   standard and reasons for keeping a document under seal—the legitimate public or private



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 1   interests that warrant the relief sought, the injury that will result if the relief sought is not

 2   granted, and why a less restrictive alternative to the relief sought is not sufficient. Local

 3   Rules W.D. Wash. LCR 5(g)(3). The Court requested additional briefing from

 4   Defendants as the designating party for both motions and renoted the motions for the

 5   Court’s March 25, 2019 calendar. Dkt. 271.

 6           A “strong presumption of access to judicial records applies fully to dispositive

 7   pleadings, including motions for summary judgment and related attachments.” Kamakana

 8   v. City & Cty. of Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006). “Thus, ‘compelling

 9   reasons’ must be shown to seal judicial records attached to a dispositive motion.” Id.

10   (citing Foltz v. State Farm Mutual Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)).

11           The Court finds that because the parties have settled this case, the State’s proposed

12   findings of fact and conclusions of law are no longer relevant. Therefore, the Court

13   GRANTS the State’s unopposed motion to seal, Dkt. 254, in its entirety.

14           The Court notes that its direction to Defendants to provide additional briefing as to

15   the first motion, Dkt. 208, remains relevant as it addresses a dispositive pleading.

16   Therefore, the Court directs Defendants to submit additional briefing addressing the LCR

17   5(g)(3)(B) factors as to the State’s unopposed motion to seal, Dkt. 208, by April 17,

18   2019.

19           Dated this 12th day of April, 2019.

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                                                  A
                                                  BENJAMIN H. SETTLE
                                                  United States District Judge


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